           Case 17-50185   Doc 30   Filed 10/14/18   Entered 10/14/18 23:56:57   Desc Imaged Certificate of Notice   Page 1
                                                                 of 2
Form ntctelhrgbk

                                      UNITED STATES BANKRUPTCY COURT
                                              Eastern District of Texas

                                                         Suite 300B
                                                660 North Central Expressway
                                                      Plano, TX 75074

                                          Bankruptcy Proceeding No.: 17−50185
                                                      Chapter: 13
                                               Judge: Brenda T. Rhoades

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Donna Hutchings Mangon
   PO Box 1699
   Mount Pleasant, TX 75456
Social Security No.:
   xxx−xx−0933
Employer's Tax I.D. No.:


PLEASE TAKE NOTICE that a TELEPHONIC HEARING will be held

on 11/8/18 at 11:05 AM

to consider and act upon the following:

Final Hearing Set (TELEPHONIC) (RE: related document(s)28 Motion for Relief from Automatic Stay With Waiver
of 30−Day Hearing Requirement As To 84 CR 1120, Mt Pleasant, TX Filed by First Federal Community Bank, SSB
Hearing scheduled for 11/8/2018 at 11:05 AM at TELEPHONIC HEARING LOCATION. (sr)

Parties are instructed to appear telephonically using the following call−in information:

PLEASE DIAL INTO THE HEARING CONFERENCE LINE: 1−888−675−2535. You will be PROMPTED for an
ACCESS CODE: 4225607. WHEN PROMPTED FOR SECURITY CODE PLEASE USE: 1720. Note: You may be
placed on hold until the host dials into the conference. PLEASE DO NOT CHOOSE ANY OTHER OPTIONS.
The call−in information can also be found on the Court's Website at: www.txeb.uscourts.gov
PLEASE NOTE THE FOLLOWING HEARING PROCEDURES:
1. Parties are instructed to notify the Courtroom Deputy Clerk, 48 hours in advance of the hearing,
   if the matter is contested and the parties intend to present evidence either documentary, testimonial,
   or other, at the hearing.

2. Courtroom Deputy Clerk contact information is as follows: crd_plano@txeb.uscourts.gov, 972.509.1246

Dated: 10/12/18

                                                                  Jason K. McDonald
                                                                  Clerk, U.S. Bankruptcy Court



YOU ARE ADVISED that, in any hearing before this Court, corporations and partnerships must be represented by
attorneys duly admitted to practice before this Court.
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                                               United States Bankruptcy Court
                                                 Eastern District of Texas
In re:                                                                                                        Case No. 17-50185-btr
Donna Hutchings Mangon                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0540-5                  User: rascos                        Page 1 of 1                            Date Rcvd: Oct 12, 2018
                                      Form ID: 110                        Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 14, 2018.
db             +Donna Hutchings Mangon,   PO Box 1699,   Mount Pleasant, TX 75456-1699
cr             +Auto Finance USA,   c/o Quilling, Selander, et al,   2001 Bryan Street, Suite 1800,
                 Dallas, TX 75201-3070
cr             +First Federal Community Bank, SSB,   c/o Don Biard,   38 1st NW,   Paris, TX 75460-4103

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                                  TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 14, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 12, 2018 at the address(es) listed below:
              Carey D. Ebert   on behalf of Trustee Carey D. Ebert, ECFch13plano@ch13plano.com
              Carey D. Ebert,   ECFch13plano@ch13plano.com
              Don Biard    on behalf of Creditor   First Federal Community Bank, SSB dbiard@att.net
              Gordon Mosley    on behalf of Debtor Donna Hutchings Mangon gmosley@suddenlinkmail.com,
               gordonm@suddenlinkmail.com
              Patrick M. Lynch   on behalf of Creditor   Auto Finance USA plynch@qslwm.com, jtownzen@qslwm.com
              US Trustee   USTPRegion06.TY.ECF@USDOJ.GOV
                                                                                            TOTAL: 6
